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UNITED STATES OF AMERlCA,
                              UNITED STATES DISTRICT COUR
                            SOUTHERN DISTRICT OF CALIFO . IA            d    I
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                                                        Case No. 16cr1862-BAS

                                      Plaintiff,
                      vs.
                                                        JUDGMENT OF DISMISSAL
MARlA ANTONIET A RAMIREZ (1),

                                    Defendant.
                                         __----.1



IT APPEARlNG that the defendant is now entitled to be discharged for the reason that:

      an indictment has been filed in another case against the defendant and the Court has
      granted the motion of the Government for dismissal of this case, without prejudice; or

o     the Court has dismissed the case for unnecessary delay; or

~     the Court has granted the motion of the Government for dismissal, without prejudice; or

o     the Court has granted the motion of the defendant for a judgment of acquittal; or

o     a jury has been waived, and the Court has found the defendant not guilty; or

o     the jury has returned its verdict, finding the defendant not guilty;

[Xl   of the offense as charged in the Information:
      21:952 & 960; 18:2-ImE0rtation ofMethamEhetamine and Aiding_ and Abetting (Felony)




Dated:   911312016
                                                    Hon. Nita L. Stormes
                                                    United States Magistrate Judge
